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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


COMMANDER ERIC C. CASH
15617 Copper Beech Dr.
Upper Marlboro, MD 20774                             Case No.:

                Plaintiff                            COMPLAINT FOR SETTING ASIDE
       v.                                            FINAL AGENCY DECISION AS
                                                     UNLAWFUL UNDER THE
                                                     ADMINISTRATIVE PROCEDURE ACT.
The Honorable CARLOS DEL TORO
in his official capacity as the Secretary of
the Navy,
1200 Navy Pentagon
Washington, DC 20350-1200

The Honorable LLOYD J. AUSTIN, III,
in his official capacity as Secretary of Defense
1000 Defense Pentagon
Washington, DC 20310-1000

UNITED STATES NAVY
1200 Navy Pentagon
Washington, DC 20350-2000,

BOARD FOR CORRECTION OF
NAVAL RECORDS (BCNR)
701 S. Courthouse Road
Building 12, Suite 1001
Arlington, VA 22204-2490

And, United States of America
                        Defendants


  COMPLAINT FOR SETTING ASIDE FINAL AGENCY DECISION AS UNLAWFUL
            UNDER THE ADMINISTRATIVE PROCEDURE ACT
       Plaintiff, Commander (ret.) Eric C. Cash (“Plaintiff”), brings forth this action under the

Administrative Procedure Act, 5 U.S.C. § 701, et seq., for judicial review of a final agency

decision denying his request to remove adverse information, including a punitive letter of
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reprimand, from his Official Military Personnel File (“OMPF”). Six weeks after Plaintiff took

command of the troubled USS San Antonio there was a tragic incident where a sailor died

following an accident during the launching of a small boat. All procedures then required had

been followed, and the personnel performing and supervising the operation were properly trained

and qualified. The investigation revealed that the accident was due to significant technical and

operational problems with the San Antonio and its sister ships in its class. Following the death,

the Navy implemented new standard procedures for small boat operations and engaged in a

significant reform and upgrade program for the San Antonio class. Plaintiff underwent

counseling for his role in the incident, and his commanding officers considered this more than

sufficient correction. Everyone closest to the incident and the San Antonio class agreed that

responsibility for the death lying first and foremost with the flaws of the class, and how the Navy

chose to man and operate them.

       More than one year after the incident, Admiral John Harvey (“ADM Harvey”), then

commander of the United States Fleet Forces Command, was facing Congressional hearings into

Naval readiness. As part of his preparation for the hearings, he sought to levy charges under

Article 92, for dereliction of duty against both Plaintiff and his executive officer, then Lieutenant

Commander, now Captain, Sean Kearns (“LCDR Kearns”). The specifications were negligence

in failing to issue a special watchbill for the small boat operation, and in ensuring appropriate

supervision of the operation. The former was despite the fact that Plaintiff and LCDR Kearns had

followed standard Navy operating procedure. This was in clear contradiction to the

recommendations of those closest to the incident, Plaintiff’s commanding officers, who believed

that counseling was sufficient.
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       LCDR Kearns refused non-judicial punishment and elected for a court-martial, thanks to

the significantly greater evidentiary rigor of the court-martial process, and the much deeper

inquiry, he was found not guilty on the charges. Expert witness testimony established that no

special watchbill was required and that the proper personnel were supervising the operation, and

that they had the proper training and qualifications. LCDR Kearns, his records cleared from

ADM Harvey’s attempted stain, proceeded to have a thriving career in the USN. He was

promoted to Commander, and then Captain, and is now the head of an NROTC department at the

Maine Maritime Academy.

       Plaintiff was not so fortunate. He was still at sea when the charges were levied, meaning

that he was not granted the opportunity to elect for court-martial. ADM Harvey had the option to

grant him a court-martial, regardless, but ensured that Plaintiff underwent the much less rigorous

inquiry, and lower standards, of NJP. Following this, despite the lack of evidence to establish the

necessary elements of the charges, Plaintiff was found guilty in absentia. ADM Harvey levied a

punitive letter of reprimand against him. Despite stellar officer evaluations, Plaintiff’s career was

over. He failed to make captain and was forced to retire in 2015.

       In 2017 Plaintiff challenged this wrongful action against him. In 2018, the BCNR, in full

contradiction of the clear evidence on the record, chose to uphold the wrongful NJP. This was

despite the fact that a court-martial on the same charges and nexus of fact, a significantly deeper

and more rigorous factual inquiry, found that charges were unsubstantiated. In large part this

decision was based on speculation as to what may have been submitted before the NJP, as

compared to the hard evidence of what had actually been reviewed on court martial.

       Plaintiff now comes before this Court to overturn this decision under the Administrative

Procedure Act. The finding that a special watchbill was “clearly required” at the time was
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unsupported by substantial evidence, as was the finding that Plaintiff had failed to ensure

appropriate supervision. Due to the record compelling a reasonable mind to find to the contrary,

the necessary elements for the Article 92 charges against Plaintiff were not established by

sufficient evidence, rendering the BCNR’s upholding of them contrary to law. This requires

overturning under the APA. In addition, the clear injustice levied against Plaintiff, who was

turned into a scapegoat for the Navy’s failings, is so egregious as to render the BCNR’s refusal

to set it aside arbitrary and capricious.

I.      JURISDICTION AND VENUE
1. This court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal jurisdiction question),
   1346(a)(2) (civil action against the United States…founded either upon the Constitution, or
   any Act of Congress, or any regulation of an executive department….), and 1361 (action to
   compel an officer or employee of the United States to perform his duty). Hatheway v.
   Secretary of the Army, 641 F.2d 1376, 1379-80 (9th Cir. 1981), cert. denied, 454 U.S. 864
   (1981).

2. Venue in this district is proper pursuant to §§ 1391(e) and 1402(a) because the Defendants
   are located at the addresses stated in the caption and no real property is involved in the
   action.
II.     THE PARTIES
3. Plaintiff is a decorated Commander (“CDR”) in the United States Navy with over 27 years of
   military service.

4. Defendant, Carlos Del Toro, is the Secretary of the Navy (“Secretary Del Toro”) and is named
   solely in his official capacity.

5. Mr. Del Toro is authorized by 10 U.S.C. § 1552 to act through a board of civilians under the
   procedures established by him, to correct any military record of a member of the Navy when
   he considers it necessary to correct an error or remove an injustice.

6. Defendant United States Navy has responsibility for the administration, control, and operation
   of the United States Navy (“USN”)

7. Defendant Board for Correction of Naval Records (“BCNR”) is the highest administrative
   level of review of personnel actions taken by lower levels of the Navy.
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8. The BCNR is the board of civilians established by the Secretary of the Navy, which, pursuant
   to 10 U.S.C. § 1552, considers applications filed before it for the purpose of determining
   whether an applicant’s Navy military record should be changed to correct an error or injustice.

9. Defendant Lloyd J. Austin, III, acts on behalf of the United States of America in his official
   capacity as the Secretary of the Defense.

10. Defendant United States of America is the U.S. government.
III.   STATEMENT OF THE FACTS
11. Plaintiff is a graduate of the United States Naval Academy who was first commissioned as an
    Ensign in the Navy on May 29, 1991.

12. Plaintiff has since had a long and decorated career as a Naval Officer, earning five Navy-
    Marine Corps Commendation Medals, a Meritorious Service Medal, and a Navy-Marine
    Corps Achievement Medal. Exhibit 1, Collected Medals of CDR Cash.

13. In December 2008, Plaintiff took command of the USS San Antonio, an LPD-17 class ship.

14. His executive officer, then Lieutenant Commander, now Captain, Sean Kearns (“LCDR
    Kearns”) was already previously deployed to the ship.

15. Notoriously, the Navy’s LPD-17 class of ships have suffered from systemic structural and
    procedural deficiencies. Exhibit 2, LPD 17 Class Wholeness Task Force Report dated
    September 17, 2010.

16. The numerous deficiencies of the LPD-17 class ships stem from a lack of funding, poor
    construction quality, insufficient manning, and a lack of adequate training procedures. Id.

17. Before Plaintiff took command of the San Antonio, the ship’s immediate preceding
    commander, CDR Kurt Kastner stated, in a personal email to his wife dated September 22,
    2008, that the ship “was on the verge of major incident or failure and it is very
    uncomfortable.” Exhibit 3, Email from CDR Kastner dated September 22, 2008.

18. This email was forwarded to the Plaintiff by CDR Kastner several years after CDR Kastner
    had originally sent it. Id.

19. In 1998, a full decade before the relevant incident aboard the San Antonio, the implantation
    and the installation of an enhanced crane system was recommended for all LDP-17 class
    ships during an LDP-17 Boat Issue Workshop. Exhibit 4, Record of Trial from Court-Martial
    of LCDR Kearns at 107-108 (November 4, 2010, pages 77-79).

20. However, this system was not implanted by 2008 when Plaintiff took command of the San
    Antonio. Id.
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21. In fact, unknown to the subsequent commanders of the San Antonio, including Plaintiff, the
    USN had discovered several safety issues during the workshop, including the issues that
    would lead to the incident here, but had never informed the commanders of the ships about
    them. Id. at 107 (November 4, 2010, page 77) (“So, several safety concerns were addressed
    in 1998 and the ship was actually never told about them?” “Yes—to my knowledge, yes,
    sir.”)

22. This enhanced crane system would have removed the need for line handlers onboard the San
    Antonio, which was one of the issues present during the relevant accident that resulted in the
    death of Engineman First Class (“ENI”) Theophilus Ansong on February 4, 2009. See id. at
    334-336 (November 2, 2010, page 17-19); see id. at 107 (November 4, 2010, at 77-79).

23. Before the accident, on February 4, 2009, while on an anti-piracy mission in the Gulf of
    Aden, the San Antonio was directed to conduct a staff transfer by Admiral McKnight. Id. at
    849-50 (November 3, 2010, at 298-299).

24. The Plaintiff recommended the transfer be executed by way of helicopter transport to ensure
    safety and efficiency. Id.

25. Despite the recommendation of Plaintiff, Admiral McKnight directed the staff transfer be
    executed via small boats including 11-m Rigid-hulled inflatable boats (“RHIB”). Id.

26. The night prior to the transfer, Plaintiff held a Daily Operations and Intel Brief to discuss all
    watchbill evolutions for relevant personnel, equipment, and procedural issues to reduce
    operational risk. Id. at 852-4 (November 3, 2010, at 301-303).

27. Commander Cash's preparation for the evolution of the 11-meter RHIB small boat, which
    was to be utilized in the transfer, was the same procedure applied by the prior commanding
    officer CDR Kastner, had been used for numerous small boat operations in the six weeks
    prior during Plaintiff’s command, and followed USN standard operating practices at the time.
    Id. at 855-6 (November 3, 2010, at 304-305).

28. At the time of the accident, there was no USN special watchbill requirement for small boat
    operations. Id.

29. The only requirement was that a watch team replacement plan be in place. Id.

30. CDR signed all watch bills required of him by the Navy Standard Organization and
    Regulations Manual (“SORM”). Id.

31. The watch bills signed by Plaintiff were certified as sufficient in scope, meeting
    requirements, and accountability. Id.

32. Additionally, Plaintiff properly followed protocol by enacting a watch team replacement
    plan. Id.
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33. Due to a turnover gap between first lieutenants, Plaintiff and LCDR Kearns entrusted
    Boatswain Shawn Stacey (“Boatswain Stacey”) with supervision of the operation. Id. at
    1208-9 (November 4, 2010, at 214-5).

34. Boatswain Stacey was described as "imminently qualified" for the task at hand. Id.

35. Plaintiff’s responsibilities ended at granting permission for the operation to proceed. Id. at
    876-7, 879-80 (November 3, 2010 at 325-6, 328-9).

36. After granting permission to proceed, he briefly left the bridge to grab sunscreen, as it was
    going to be a long day of operations, and was absent for only a few minutes. Id.; Id. at 433
    (November 2, 2010, at 116).

37. The officer on deck supervising the operation remained on the bridge. Id. at 879-80
    (November 3, 2010 at 328-9).

38. During the operation, a technical issue occurred as a RHIB was lowered into the water to test
    its engines. Id. at 641 (November 3, 2010, at 93).

39. The engines of the RHIB failed to start after entering the water, which disabled the boat from
    maintaining the sea painter line, which had also malfunctioned. Id. at 486-489 (November 2,
    2010, at 169-72).

40. Because of these malfunctions, the RHIB drifted aft, and struck the portside accommodation
    ladder of the USS San Antonio, causing three sailors to abandon the RHIB. Id.

41. Plaintiff immediately returned to the bridge upon hearing the call of man overboard. Id. at
    876-7 (November 3, 2010 at 325-6).

42. Two of the sailors were recovered, but tragically, the third sailor, EN1 Ansong, was never
    found, despite a ten-hour search and rescue mission. Id. at 486-489 (November 2, 2010, at
    169-72).

43. The Department of the Navy acknowledged that the ship's crew followed the most current
    operating procedure to launch the RHIB.

44. Only after the incident did the Naval Sea Systems Command issued a fleet-wide emergency
    safety message with a corrected procedure for all ships in the class to follow.

45. Subsequent to the accident, Commander, U.S. Fleet Forces Command sponsored a
    Wholeness Task Force Report study of LPD 17 ship class, which ended with over $1 billion
    dollars in recommended actions to bring the USS San Antonio class ships within U.S. Navy
    manning, training, and equipping standards. Exhibit 2.

46. To inquire into the causes of the incident, an NCIS investigation was led by Captain Larry
    Grippin (“CAPT Grippin”), which determined that the manning, training, and equipment of
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   the San Antonio were the causal factors leading to the incident. Exhibit 5, Grippin NCIS
   Investigation.

47. The NCIS investigation was closed on October 21, 2009, after the Death Review Board voted
    unanimously to close the investigation. Id.

48. CAPT Grippin endorsed disciplinary action for Plaintiff, executive officer Lieutenant
    Commander (“LCDR”) Sean Kearns, and the Boatswain Stacey. Exhibit 6, Affidavit of CDR
    Cash.

49. After this recommendation, the commanders of Task Force 151 and Fifth Fleet concluded
    that Captain Brian T. Smith (“CAPT Smith”), Plaintiff's immediate superior, was in the best
    position to review accountability for the accident. Id.

50. CAPT Smith elected to take administrative action based on the circumstances, but not
    punitive action against Plaintiff, resulting in a counseling session. Id.

51. RADM Quinn, commander of Naval Surface Force Atlantic and CAPT Grippin subsequently
    recommended that the administrative action taken in by CAPT Smith in April 2009 was
    sufficient and punitive action was not necessary. Id.

52. In the spring of 2010, it became apparent that Congress would hold hearings on Naval fleet
    readiness, in particular sparked by incidents like what happened on the San Antonio, and the
    wider problems with the San Antonio class. Exhibit 7, Fleet Readiness: Hearing Before the
    Subcomm. on Readiness Meeting Jointly with Subcomm. on Seapower and Expeditionary
    Forces of the House Comm. on Armed Services, 111th Congress (July 28, 2010).

53. ADM Harvey was one of the officers called to testify. Id.

54. On May 13, 2010, ADM Harvey brought charges against both Plaintiff and LCDR Kearns for
    an Article 92, UCMJ, 10 U.S.C. § 892 (failure to obey order or regulation) violation, with the
    specifications of dereliction of duty by failing to issue a special watchbill and failing to
    ensure appropriate supervision. Exhibit 8, Punitive Letter of Reprimand dated May 13, 2010.

55. This took place over 15 months after the incident aboard the San Antonio, over a year after
    Capt. Smith’s counseling to Plaintiff, and in contradiction to the recommendations by Capt.
    Grippin and RADM Quinn that no further action was necessary. Id.

56. The charge for dereliction via negligence by failing to issue a special watchbill was despite,
    at the time of the incident, there being no USN requirement for a special watchbill for small
    boat operations. Id.; Exhibit 4 at 855-6 (November 3, 2010, at 304-305).

57. In addition, all of the officers supervising the operation were properly trained and highly
    qualified. Exhibit 4 at 1208-9 (November 4, 2010, at 214-5).
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58. Because Plaintiff was still attached to the San Antonio, he was not given the option to
    demand trial by court martial in lieu of nonjudicial punishment. Exhibit 8.

59. ADM Harvey still had the opportunity to grant him court martial, but deliberately chose to
    ensure that disciplinary proceedings ensued under the lower evidentiary standards of NJP.
    Exhibit 8.

60. LCDR Kearns was no longer attached to the ship and elected to refuse nonjudicial
    punishment and undergo court-martial. See, e.g., Exhibit 4.

61. His court martial occurred in November of 2010 and resulted in substantial expert testimony
    concerning whether a special watchbill was required at the time for small boat operations, as
    well as the supervisory requirements for small boat operations. Id.

62. In November of 2010 he was acquitted of the Article 92, UCMJ, 10 U.S.C. § 892 violations
    that arose of the same nexus of facts as Plaintiff's case. Id. at 1552 (November 5, 2010, at
    227).

63. By contrast, following a much less evidentiarily rigorous NJP, which he was absent for,
    Plaintiff found guilty of violating Article 92 and was issued by ADM Harvey a punitive letter
    of reprimand for the Article 92 violation. Exhibit 8.

64. Despite his unwarranted nonjudicial punishment, Plaintiff continued to flourish as a leader
    and as a sailor. Exhibit 10, Officer Evaluation Reports.

65. In the evaluation period from May 9, 2009, to September 30, 2009, CAPT Grippin, the same
    officer that investigated Plaintiff for the incident aboard the USS San Antonio, stated
    Plaintiff “is one of the best commanding officers I've observed and consistently led with
    vision, energy, unflagging resolve and a winning attitude to achieve mission success despite
    first of ship class challenges.”

66. CAPT Grippin recommended Plaintiff for promotion to Captain and selection for Major
    Command Afloat.

67. From June of 2010 to April of 2012, he was twice given the highest possible marks in every
    assessment category by two different reporting seniors, Captain R.L. Russel and Captain
    M.R. Graham. Exhibit 10.

68. Despite this and many other glowing recommendations for promotion to Captain, Plaintiff
    was not promoted, due to ADM Harvey’s unwarranted punitive letter of reprimand that was
    issued for the incident aboard the San Antonio. See Id. (stellar evaluations at each turn).

69. This resulted in Plaintiff’s forced retirement in 2015, after being passed over on review for
    promotion to Captain.
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70. By contrast, LCDR Kearns, who was able to clear his good name through a much more
    rigorous process, was subsequently promoted to Commander, and then Captain, holding the
    prestigious post of commanding the USS Constitution, the oldest ship in the fleet, and now
    holding command of the NROTC program at Maine Maritime Academy.

71. 10 U.S.C. § 1552 mandates that the Secretary of each military department act “through
    boards of civilians,” under procedures established by the Secretary, to correct any military
    record of any current or former member of that department when he or she considers it
    necessary to correct an error or remove an injustice; pursuant to this mandate, Defendant
    Secretary of the Navy has established Defendant BCNR to consider and act on any requests
    to make such corrections. See 32 C.F.R. § 723.2.

72. The relief available to current and former Navy military personnel through application to the
    Board is broad and includes the correction of military records: (a) to change the reason for
    discharge; (b) to reinstate a veteran to military service (which may include back pay and
    allowances); (c) to void a pass-over of a candidate for promotion; and (d) to take other
    actions as may be necessary to correct material error or injustice.

73. Plaintiff petitioned Defendant BCNR on February 24, 2017, requesting (1) removal of the
    nonjudicial punishment from Plaintiff’s OMPF; (2) removal of the Punitive Letter of
    Reprimand from his OMPF; (3) removal of the failures of selection (“FOS”) incurred by
    Active-Duty Captain Line Promotion Selection Boards; and (4) grant a Special Selection
    Board for promotion; Plaintiff included extensive documentation to the BCNR in support of
    his application. Exhibit 11, Plaintiff’s BCNR Application.

74. Plaintiff’s BCNR application contained several justified grounds for relief including:
              The preponderance of evidence did not support that Plaintiff was derelict in his
               duties.
              There was no watchbill requirement for small boat operations and Plaintiff had
               ensured proper supervision for the small boat operation on the day of the incident.
              Negligence or dereliction of duty was not the proximate cause of the accident.
              The Punitive Letter of Reprimand was an affront to justice and fairness because
               the Executive Officer on the USS SAN ANTONIO was allowed a court-martial,
               rather than nonjudicial punishment and found not guilty
              There was no evidence of record to support Plaintiff was guilty of violating
               Article 92 of the UCMJ.
              Plaintiff was not negligent in performing any required watchbill or supervisory
               duties.
              All personnel were properly certified, and acted in accordance with Department of
               the Navy requirements.
              Systematic and training problems were revealed during the incident investigation
               and concluded with over one billion dollars in recommended actions to bring the
               class of ships within U.S. Navy manning, training, and equipping standards. Id.
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75. In an Advisory Opinion (“AO”) dated February 2, 2018, the Office of Legal Counsel of the
    U.S. Navy (USN OLC) agreed that Plaintiff made a compelling claim that his NJP lacked
    sufficient evidence. Exhibit 12, Advisory Opinion dated February 2, 2018.

76. However, it still found that it could not support a legal holding of insufficient evidence
    because NJPs, being much less rigorous than court-martials, lack formal records of trial and
    as such it was unclear what evidence ADM Harvey may have considered. Id.

77. The AO also conceded that Plaintiff made a compelling case as to the disparate results
    between his NJP and the court-martial of LCDR Kearns, involving the same nexus of facts
    and charge, which resulted in an acquittal. Id.

78. However, the OLC again argued that there was insufficient evidence that this disparity was
    unjust or unfair due to the lack of a formal record of trial and added the additional factor that
    an NJP has a lower standard of proof. Id.

79. ADM Harvey’s deliberate actions to ensure that Plaintiff was forced to undergo, in absentia,
    a much less rigorous process resulted in his actions being obscured from proper scrutiny. See
    id.

80. On August 5, 2018, a three-member panel of the Defendant BCNR denied Plaintiff’s
    application for correction of his record, substantially concurring with the comments
    contained in the advisory opinions from Navy Personnel Command: Performance Evaluation
    (PERS-32), Post Selection Board Matters (PERS-833), and the Office of Legal Counsel
    (PERS-00J). Exhibit 13, BCNR 17-002451.

81. Despite being a civilian board lacking in specialized knowledge, the Board still concluded
    that the evidence from the CI report revealed that a special watchbill was “clearly needed” in
    the case of small boating operations, and that it was Plaintiff’s responsibility to issue one. Id.

82. The BCNR found this “clear need” despite the Navy having never seen, up until that point,
    the need for special watch bills for small boating operations, a very common occurrence. Id.

83. In addition, this was also in spite of the fact that substantial expert testimony in LCDR
    Kearns court-martial established that a special watchbill was not required at the time. Id.

84. Despite the heavy weight of specialized Navy practice showing that special watch bills were
    not required at the time, the civilians of the BCNR concluded:

            “You did not properly plan or anticipate problems. Despite your contention that you
            did not have an implicit or explicit duty to ensure a special evolutions watchbill was
            in place to support small boating operations, the Board determined that the evidence
            in the CI Report revealed that a special watchbill was clearly needed and it was your
            responsibility as the CO to ensure proper safeguards were in place.” Id.
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85. The Board failed to adequately address why it found that there was a preponderance of the
    evidence to support a finding that a special watchbill was necessary at the time, despite
    significant expert testimony that it was not. Id.

86. Nor did it explain its finding that Plaintiff had failed to ensure adequate supervision of the
    operation. Id.

87. Instead, it issued a blanket upholding of the NJP, and also held that there was not sufficient
    evidence of injustice in the matter. Id.

88. This was despite LCDR Kearns, who was able to undergo court-martial, being acquitted of
    the same charges for the same nexus of fact, while Plaintiff, who was denied the opportunity
    to fully defend himself, being found guilty. Id.


CLAIM FOR RELIEF
Administrative Procedure Act, 5 U.S.C. § 706
Claim 1: The BCNR’s decision in BCNR 2017-002451 must be set aside as under the
         A.P.A. as contrary to law, as the record compelled a reasonable mind to find a
         contrary conclusion to the BCNR’s holding that there was sufficient evidence to
         establish the necessary elements of the charges against Plaintiff.
89. The Administrative Procedure Act, 5 U.S.C. § 706(2)(A), permits the reviewing court to hold
    unlawful and set aside agency findings held to be arbitrary, capricious, or contrary to law.

90. As decisions by the BCNR are reviewed on the record of an agency hearing, their findings
    must be supported by substantial evidence under 5 U.S.C. § 706(2)(E). Chappell v. Wallace,
    462 U.S. 296 at 303 (1983).

91. “Substantial evidence” requires that a reasonable mind could find adequate evidence within
    the evidentiary record to support the particular conclusion reached by the agency. See
    Dickenson v. Zurko, 527 U.S. 150, 162 (U.S. 1999).

92. Or, to place it from the plaintiff’s perspective, an administrative finding must be set aside
    when the evidentiary record would compel a reasonable mind to arrive at a contrary
    conclusion. See, e.g., Palace Sports & Entertainment, Inc. v. NLRB, 411 F.3d 212, 220 (D.C.
    Cir. 2005).

93. Plaintiff was charged under Article 92 of the UCMJ (2008), 10 U.S.C. § 892, for dereliction
    in the performance of his duties.

94. This required establishing, via a preponderance of the evidence, that Plaintiff:

       a. Had certain duties;
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       b. Knew or reasonably should have known of these duties; and

       c. Was willfully, through neglect or culpable inefficiency, derelict in the performance of
          these duties.
       MCM (2008) at IV-23-4.
95. The specific alleged duties in question, under the specification at his NJP, was that Plaintiff
    had a duty to:

       a. Establish a special watchbill for small boat operations; and

       b. Ensure adequate supervision of the small boat operation.
       Exhibit 8.


96. Plaintiff, in addition, had to either have known, or should have known, that he had these
    duties and then be derelict in the performance of said duties.

97. For the BCNR to uphold the NJP and the punishment that ensued, the evidentiary record of
    the administrative proceeding must contain substantial evidence to support their findings that
    these two duties existed at the time of the incident, that Plaintiff knew or should have known
    of these duties, and that he was derelict in the performance of said duties.

98. Thus, if the record compels a reasonable person to find to the contrary, that these duties did
    not exist at the time, that Plaintiff did not know, or should have known, about those duties, or
    that he was not derelict in his performance of these duties, then the BCNR has not
    established that a preponderance of the evidence was met to satisfy the necessary elements of
    the charges. Palace Sports, 411 F.3d at 220; 5 U.S.C. § 706(2)(E).

99. To uphold the decision of an NJP where the necessary elements were not met is contrary to
    law under the A.P.A. and must be set aside. 5 U.S.C. § 706(2)(A).
The evidentiary record would compel a reasonable mind to find that there was no duty to
issue special watchbill at the time of the incident, and that Plaintiff did not know, or should
have known, about said duty.
100. The first specification concerned whether Plaintiff was under a duty to issue a special
   watchbill for small boat operations. Exhibit 8.

101. The civilians of the BCNR, in their decision, found that a special watchbill, based on the
   evidence from the Command Investigation, was clearly needed and that it was Plaintiff’s
   responsibility to issue one. Exhibit 13.
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102. The evidentiary record would clearly compel a reasonable factfinder to find otherwise,
   that Plaintiff did not know, or should have known, at the time of the incident that a special
   watchbill was needed.

103. First and foremost, it is critical to consider that this issue was litigated, including through
   expert testimony, in a much more evidentiarily rigorous manner, where it was found that no
   special watchbill was required at the time. Exhibit 4 at 1552 (November 5, 2010, at 227).

104. Plaintiff’s lack of issuance of a special watchbill was in line with the procedures of his
   predecessor in command of the San Antonio, CDR Kastner. Id. at 855-6 (November 3, 2010,
   at 304-305).

105. This was in line with wider Navy procedures at the time, which did not impose a
   requirement for a special watchbill in regard to small boat operations. Id.

106.   The launching of the RHIB was in line with Navy procedure at the time. Id.

107. It was only after the incident that the Navy took the step to create new measures requiring
   a special watchbill, and also engaged in a substantial investigation into the ship class and
   suggest a one-billion-dollar manning, training, and equipping program to bring the class into
   line. Exhibit 2.

108. In short, the incident was a freak accident which revealed errors in the Navy’s standard
   procedure and equipment for the launching of small boats from the San Antonio class. Id.

109. In short, for Plaintiff to have known, or should have known, that a special watchbill was
   required would be to ask for him to discover, six weeks into the command of his ship,
   something that the entire Navy, throughout the entire history of the class’s service, had not
   discovered themselves. See Exhibit 4 at 855-6 (November 3, 2010, at 304-305).

110. It is also important to consider that what safety problems the Navy did know about the
   LPD-17 class had not been communicated to the commanders of the ships. Id.at 107
   (November 4, 2010, page 77).

111. The clear evidence in the record as to how Plaintiff had clearly followed standard
   procedure, and how the errors in said procedure were only discovered as a result of a freak
   incident, would clearly compel a reasonable person to find that Plaintiff did not know, or
   should have known, that a special watchbill was required at the time.

112. Instead, the civilians of the BCNR substituted their own apparent expertise in naval
   procedure for that of more than a decade of Navy professionals and held that Plaintiff should
   have known that a special watchbill was “clearly needed.” Exhibit 13.
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113. This finding that a special watchbill was “clearly needed” is particularly puzzling given
   that the NCIS criminal investigation of the incident specifically laid the responsibility for the
   incident on the fact that the engines on the RHIB failed to start, which caused the RHIB to
   drift and strike the boat, and that EN1 Ansong was wearing too large of a life preserver.
   Exhibit 5.

114. If a special watchbill was “clearly needed” one would have expected to find a levying of
   responsibility for EN1 Ansong’s death against either Plaintiff or LCDR Kearns. Id.

115. In short, the record clearly compels a reasonable person to find that Plaintiff was
   following standard Navy procedures at the time by not issuing a special watchbill, meaning
   that he was not negligent in his actions, and the BCNR’s finding to the contrary must be set
   aside.
The evidentiary record would compel a reasonable mind to find that Plaintiff had ensured
appropriate supervision of the operation.
116. The expert evidence at LCDR Kearn’s court martial clearly established that neither
   executive officers, nor commanders, were required to personally supervise small boat
   operations on ships. Exhibit 4 at 1552 (November 5, 2010, at 227).

117. The commanding officer’s responsibilities for small boat operations were explicitly
   limited to granting permission to move forward with the operation, after that the supervisory
   duties passed exclusively to the subject matter expert, the boatswain. Id. at 876-7, 879-80
   (November 3, 2010 at 325-6, 328-9).

118. Plaintiff was only briefly absent from the bridge, and only did so after his own duties, the
   granting of permission to proceed, had been exercised. Id.

119. The record also clearly established that Plaintiff had ensured proper supervision of the
   operation, through the use of highly trained and qualified personnel at each of the key
   positions. See, e.g. Id. at 1208-9 (November 4, 2010, at 214-5); see id. at 1552 (November 5,
   2010, at 227).

120. As has been clearly established above, the responsibility for EN1 Ansong’s death in a
   freak accident primarily lies at the feet of problems with the San Antonio class, something
   which can be further seen by the Navy’s significant programs to update the class following
   the incident. Exhibit 2.

121. This is reinforced by the fact that LCDR Kearns, similarly was found not guilty on this
   specification, following a trial with substantially greater amounts of evidence and at a much
   higher level of rigor. Exhibit 4 at 1552 (November 5, 2010, at 227).
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122. In short, the record clearly compels a reasonable person to find that Plaintiff was not
   negligent in his own personal supervisory duties, or in his duties to ensure appropriate
   supervision of the operation.

123.   The BCNR’s findings to the contrary must thus be set aside. 5 U.S.C. § 706(2)(E).
The BCNR’s speculation about the evidence that may have been before ADM Harvey must
be set aside as unsupported by substantial evidence.
124. As stated above, the substantial evidence standard requires adequate evidence in the
   record to support a specific conclusion. See Dickenson v. Zurko, 527 U.S. 150, 162 (U.S.
   1999).

125. The Advisory Opinion to the BCNR contained significant speculation as to what may
   have been submitted to the NJP proceedings in order to uphold their findings. Exhibit 12.

126. The BCNR then used this AO made the blanket decision to find that the evidence
   supported the charges levied against Plaintiff, despite completely failing to cite anything
   within the record to support its findings. Exhibit 13.

127. Given that the BCNR has failed to point to any evidence in the record to support its
   blanket conclusion that the NJP contained sufficient evidence to support the charges, this
   finding must be set aside as not supported by substantial evidence. Id.
The BCNR’s upholding of Plaintiff’s NJP must be set aside, as the record compels a
reasonable mind to find that the necessary elements of both specifications of the Article 92
charge levied against him were not established.
128. Given that the record compels a finding that Plaintiff was not negligent in failing to issue
   a special watchbill, and had also ensured appropriate supervision of the operation, the
   necessary elements of the charges levied against him have clearly not been established.

129.   Given this, the BCNR’s upholding of those charges, and the punishment that ensued,
   must be set aside as contrary to law as the charges clearly violate the requirements for
   conviction under UCMJ Article 92. 5 U.S.C. § 706(2)(A); MCM (2008) at IV-23-4.


Claim 2:       The BCNR’s decision in BCNR 2017-002451 must be set aside as under the
               A.P.A. as arbitrary and capricious, as the injustice levied against Plaintiff by
               using him as a scapegoat was so great as to require overturning under Kreis.
130. ADM Harvey, in the shadow of upcoming congressional hearings, deliberately chose to
   force Plaintiff to undergo proceedings with a lower standard of proof. Exhibit 6; Exhibit 7.

131. These proceedings took place more than a year after Plaintiff had already faced discipline
   for the incident. Exhibit 8.
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132.   The actual incident had occurred 15 months prior. Id.

133. Plaintiff’s superiors, closest to the situation, clearly believed that counseling had been
   sufficient. Exhibit 6; Exhibit 9.

134. The Navy’s reaction clearly shows that the incident was due to problems with the
   equipment and manning of the San Antonio class of ships, with the program to solve the
   issues having an estimated $1 billion cost. Exhibit 2.

135. This is reinforced by the NCIS investigation’s findings, which levied responsibility for
   the incident on the engine failure of the RHIB and the life vest for ENI Ansong being too
   large. Exhibit 5.

136. LCDR Kearns, who underwent a significantly more evidentiary substantive and rigorous
   proceeding, was found not guilty on the same charges for the same nexus of facts. Exhibit 4
   at 1552 (November 5, 2010, at 227).

137. The Navy in fact sought to hide the records of LCDR Kearns’ court martial from Plaintiff
   when he sought them via FOIA.

138. At first the USN claimed that the transcript didn’t exist; Plaintiff was subsequently
   informed by someone in the know that a transcript had been made immediately after the
   court-martial.

139.    Upon revelation of this information to the USN by Plaintiff, he received the transcript
   the next day, with LCDR Kearns also soon receiving a copy.

140. Plaintiff was clearly used as a scapegoat for the death of EN1 Ansang, in order to try and
   shift responsibility off of the errors of the Navy in the design, construction, manning, and
   operation of the San Antonio class of ships.

141. Despite the colossal injustice clearly levied against Plaintiff, the BCNR still chose to
   uphold the clearly wrongful actions that lead to his punitive letter of reprimand. Exhibit 13.

142. This letter of reprimand functionally ended Plaintiff’s career, resulting in him failing to
   make Captain. See Exhibit 10 (evaluations which would have otherwise more than qualified
   him for promotion).

143. By contrast, LCDR Kearns was able to clear his name from the stain of ADM Harvey’s
   wrongful charges thanks to being able to undergo an evidentiarily rigorous court-martial.
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144. This allowed his career to continue to flourish, resulting in his promotion to Captain, a
   rank he continues to hold in the active Navy to this day, and prestigious command positions
   like that of the Constitution.

145. The only difference between their two life paths is that ADM Harvey denied Plaintiff the
   opportunity to reveal the full truth of the incident, while LCDR Kearns was free to fully
   defend his good name.

146.   This finding that this was not an injustice which required correcting is the type of “most
   egregious” decision by the BCNR which requires overturning as arbitrary and capricious
   under Kreis v. Secretary of the Air Force, 866 F.2d 1508, 1514-5 (D.C. Cir. 1989).
Claim 3:       Should the NJP charges be cleared from Plaintiff’s files, the pass over for
               promotion to Captain should also be removed, and Plaintiff should be sent
               before a Special Selection Board.
147. It is clear from Plaintiff’s records, including his excellent officer evaluations, and LCDR
   Kearns’ career, that, were it not for the wrongful punitive letter of reprimand, he would have
   been promoted to Captain.

148. Instead, due to the letter, he was passed over on review, resulting in his mandatory
   retirement in 2015.

149. This Court should hold that, should the NJP charges be cleared from Plaintiff’s records,
   the pass over in his records should be cleared as well, as it stems from the letter of reprimand.

150. In addition, this Court should hold that Plaintiff is due a special selection board, should
   his NJP charges be cleared.


Conclusion
WHEREFORE, the Plaintiff humbly requests that this Court issue an order:
1)     Finding that the BCNR’s finding that Plaintiff was under a duty to issue a special
       watchbill was unsupported by substantial evidence;
2)     Finding that the BCNR’s finding that Plaintiff had not ensured adequate supervision of
       the operation was unsupported by substantial evidence;
3)     Setting aside the BCNR’s upholding of Plaintiff’s NJP proceedings as contrary to law
       under the APA, as the necessary elements under the UCMJ were not established;
4)     Removing the punitive letter of reprimand that ensued from this NJP from Plaintiff’s
       records;
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5)     Setting aside the BCNR’s finding that there was not sufficient injustice in Plaintiff’s
       matter as to require correction as arbitrary and capricious under the APA;
6)     Holding that Plaintiff’s pass over on review for command should be cleared from his
       records should his NJP charges be cleared;
7)     Holding that Plaintiff is due a special selection board, should the NJP charges be cleared;
       and
8)     Remanding this matter to the BCNR for further proceedings in line with the order.
In addition, Plaintiff notifies this Court that he intends to file for attorney’s fees and expenses,
should he prevail, under the Equal Access to Justice Act.


                                               Respectfully submitted,
                                               /s/DavidP.Sheldon
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Dated: January 13, 2021.
